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                8 LIMITED PARTNERSHIP and LIFE
                  CARE CENTERS OF AMERICA, INC.
                9
               10                           UNITED STATES DISTRICT COURT
               11           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
               12
               13 MARIA CHONA RODRIGUEZ, an                        Case No. 8:16-cv-00059-JLS-KES
                  individual, on behalf of herself, and on
               14 behalf all persons similarly situated ,          DEFENDANTS' STATEMENT OF
                                                                   NON-OPPOSITION TO
               15                  Plaintiff,                      PLAINTIFF'S MOTION FOR
                                                                   PRELIMINARY APPROVAL OF
               16           v.                                     CLASS SETTLEMENT
               17 EL TORO MEDICAL INVESTORS                        Date: December 8, 2017
                  LIMITED PARTNERSHIP, a limited                   Time: 2:30 p.m.
               18 partnership; LIFE CARE CENTERS
                  OF AMERICA, INC., a corporation;                 Judge: Josephine L. Staton
               19 and DOES 1 through 50, inclusive,
                                                                   Trial Date:          August 21, 2018
               20                  Defendants.
               21
               22
               23           Defendants EL TORO MEDICAL INVESTORS LIMITED PARTNERSHIP
               24 and LIFE CARE CENTERS OF AMERICA, INC. (“Defendants”) respectfully
               25 submit this statement of non-opposition to Plaintiff MARIA CHONA
               26 / / /
               27 / / /
               28 / / /
                                                                                   Case No. 8:16-cv-00059-JLS-KES
                          DEFENDANTS' STATEMENT OF NON-OPPOSITION TO PLAINTIFF'S MOTION FOR PRELIMINARY
13877756.1                                       APPROVAL OF CLASS SETTLEMENT
             Case 8:16-cv-00059-JLS-KES Document 83 Filed 10/17/17 Page 2 of 2 Page ID #:797




                1 RODRIGUEZ'S Motion for Preliminary Approval of Class Settlement. Defendants
                2 do not oppose Plaintiff's Motion for Preliminary Approval of Class Settlement.
                3
                4 DATED: October 17, 2017                       HANSON BRIDGETT LLP
                5
                6
                                                          By:     /s/ Dorothy S. Liu
                7
                                                                DOROTHY S. LIU
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               10                                               EL TORO MEDICAL INVESTORS
               11                                               LIMITED PARTNERSHIP and LIFE
                                                                CARE CENTERS OF AMERICA, INC.
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